Case 1:19-cr-00575-CCB Document 29 Filed 03/31/20 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA

 

*
vs. . Case No. CCB-19-0575
*
Davante Harrison
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ORDER OF DETENTION (18 U.S.C. § 3142) o ose
PA eT
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. Thaver S Oo
concluded that the following facts require the detention of the defendant pending the trial of this case. - on
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PART I: FINDINGS OF FACT
& (1) This is a case in which the government may properly seek detention.

BI (2) The defendant is charged under: 18 U.S.C. 922(g)(1), 21 U.S.C. 841, 846, 18 U.S.C. 924(c)

 

&

(3) The maximum term of imprisonment, if convicted, is:_life imprisonment

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(4) Based on the government’s proffer there is probable cause € to believe that the defendant committed the
offense(s) charged.

& The government is entitled to a presumption under § 3142 (ce) [describe in Part II].
& The defendant has failed to rebut this presumption [as to flight risk] or [as to danger].

id (5) I find, by a preponderance of the evidence, from the information produced at the hearing that there is a
serious risk that the defendant will not appear.

i (6) I find, by clear and convincing evidence, from the information produced at the hearing that the defendant
poses a risk to the safety of other persons and the community.

& (7) I find by clear and convincing evidence that there is no condition or combination of conditions which will
reasonably assure the defendant’ S presence at trial or as otherwise required and the safety of the
community,

PART II; WRITTEN STATEMENT OF ADDITIONAL REASONS FOR DETENTION
The nature and circumstances of the offense and uncharged criminal conduct are very serious, and the weight of the
evidence is strong. It is alleged that Mr. Harrison was the subject of a year-long FBI investigation into a drug-
trafficking organization that Mr. Harrison led. Mr. Harrison was not a street-level hitter. This investigation
culminated in the defendant’s arrest on Nov. 25, 2019, during which the agents found a loaded Glock on his person
with an extended capacity magazine. They also recovered $9,200 in cash and a distribution-level amount of
fentanyl. Recovered from his cell phone one year earlier were texts messages indicating his interest in firearms and
pictures of firearms. On the same day of his arrest, officers recovered fentanyl, heroin, and cocaine at a home they

observed Mr, Harrison utilize with other co-defendants believe to be a stash house. At that home, they also
recovered two firearms. Mr. Harrison’s proposed third-party custodian was not suitable.

 

 

 

 

 

 

 

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U.S. District Court (9/2009) Criminal Magistrate Forms: Order of Detention
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The defendant is committed to the custody of the Attorney General or his/her designated representative for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded reasonable opportunity for private consultation with defense counsel. On order of a court
of the United States or on request of an attorney for the Government, the U.S. Marshal shall deliver the defendant for the purpose
of an appearance in connection with a court proceeding.

 
 

March 31, 2020
Date _Debofat L. Boardman
United States Magistrate Judge

 

 

U.S. District Court (4/2000) Criminal Magistrate Forms: Detention 101 '
